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   7
     Attorneys for Defendants
   8 BLINDING EDGE PICTURES, INC.; UNCLE
     GEORGE PRODUCTIONS, LLC; APPLE INC.;
   9 ESCAPE ARTISTS, INC. (erroneously sued as
     ESCAPE ARTISTS LLC); DOLPHIN BLACK
  10 PRODUCTIONS; M. NIGHT SHYAMALAN;
     TONY BASGALLOP; ASHWIN RAJAN;
  11 JASON BLUMENTHAL; TODD BLACK;
     STEVE TISCH
  12
  13                                      UNITED STATES DISTRICT COURT
  14                                CENTRAL DISTRICT OF CALIFORNIA
  15
       FRANCESCA GREGORINI,                                Case No. 2:20-cv-00406-SSS-JC
  16
                                          Plaintiff,       DECLARATION OF NICOLAS A.
  17                                                       JAMPOL IN OPPOSITION TO
                vs.                                        PLAINTIFF’S MOTION TO
  18                                                       COMPEL UNCLE GEORGE
     APPLE INC., a California corporation;                 PRODUCTIONS’ PRODUCTION
  19 M. NIGHT SHYAMALAN, an                                OF DOCUMENTS
     individual, BLINDING EDGE
  20 PICTURES, INC., a Pennsylvania                        Date: May 30, 2023
     corporation; UNCLE GEORGE                             Time: 9:30 a.m.
  21 PRODUCTIONS, a Pennsylvania                           Courtroom: 750
     corporate; ESCAPE ARTISTS LLC, a
  22 California limited liability company;
     DOLPHIN BLACK PRODUCTIONS, a
  23 California corporation; TONY
     BASGALLOP, an individual; ASHWIN
  24 RAJAN, an individual; JASON
     BLUMENTHAL, an individual; TODD
  25 BLACK, an individual; STEVE TISCH,
     an individual; and DOES 1-10, inclusive,
  26
                            Defendants.
  27
  28

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   1 I, Nicolas A. Jampol, declare as follows:
   2            1.        I am an attorney admitted to practice before all courts of the State of
   3 California and before this Court. I am a partner in the law firm of Davis Wright
   4 Tremaine LLP (“DWT”), and I am one of the attorneys representing defendants
   5 Blinding Edge Pictures, Inc., Uncle George Productions, LLC, Apple Inc.
   6 (“Apple”), Escape Artists, Inc. (erroneously sued as Escape Artists LLC), Dolphin
   7 Black Productions, M. Night Shyamalan, Tony Basgallop, Ashwin Rajan, Jason
   8 Blumenthal, Todd Black, and Steve Tisch (collectively “Defendants”) in this
   9 matter. The facts stated below are based on my own personal knowledge.
  10            2.        Uncle George Productions, LLC (“Uncle George”) is a production
  11 entity that was created in connection with the Servant television series and is owned
  12 in part by Blinding Edge Pictures, Inc. (“Blinding Edge”). In this declaration, the
  13 term “Uncle George” refers collectively to defendants Uncle George and Blinding
  14 Edge.
  15            3.        On April 8, 2020, Plaintiff Francesca Gregorini (“Plaintiff”) served
  16 initial disclosures in this case. Plaintiff identified multiple categories of documents
  17 that she intended to rely on at trial, including “materials establishing and supporting
  18 Plaintiff’s intellectual property and copyright at issue in this litigation, including the
  19 creation, development and distribution of Emanuel” and “correspondence to or from
  20 Defendants regarding the subject matter of this case.” Attached as Exhibit 6 is a true
  21 and correct copy of Plaintiff’s initial disclosures.
  22            4.        On April 10, 2020, Plaintiff served its first set of requests for
  23 production of documents to Uncle George, consisting of 105 separate requests.
  24 Attached as Exhibit 7 is a true and correct copy of Plaintiff’s first set of document
  25 requests served on Uncle George.
  26            5.        On May 11, 2020, Uncle George served its responses to Plaintiff’s first
  27 set of requests for production of documents to Uncle George. Attached as Exhibit 8
  28

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   1 is a true and correct copy of Uncle George’s responses to Plaintiff’s first set of
   2 document requests.
   3            6.        After this Court granted Defendants’ motion to dismiss on May 28,
   4 2020, Plaintiff appealed that decision to the Ninth Circuit. The Ninth Circuit
   5 reversed and, on April 22, 2022, remanded the case. ECF No. 61. Following
   6 remand, the case was transferred to Judge Sykes on June 23, 2022. ECF No. 93.
   7            7.        Following remand, Defendants filed a motion to bifurcate discovery
   8 into an initial phase as to the issue of substantial similarity. That motion was denied
   9 on August 26, 2022. ECF No. 99.
  10            8.        On December 14, 2022, Plaintiff’s counsel proposed – and I agreed –
  11 to conferring in early January 2023 on a reasonable schedule for discovery. On
  12 December 20, 2022, I informed Plaintiff’s counsel that there are “hundreds of
  13 thousands of documents, from almost a dozen defendants, that are potentially
  14 responsive to your requests, which are being reviewed.” I also noted that “It is not
  15 an easy or quick (or cheap) process, and we are moving things along.”
  16            9.        On January 12, 2023, the parties briefly met and conferred, but due to
  17 Plaintiff’s counsel’s family matter, we did not confer in detail on discovery. During
  18 that call, Plaintiff’s counsel asked for an additional two months for Plaintiff to
  19 respond to Defendants’ discovery requests. Due to Plaintiff’s counsel’s family
  20 circumstances, we agreed to meet and confer further at a later date. That same day,
  21 we granted the requested two-month extension.
  22            10.       On February 9, 2023, I reached out to Plaintiff with a detailed
  23 summary of Defendants’ review efforts to date and a proposal to clarify and
  24 potentially narrow the scope of Plaintiff’s extensive, broad discovery requests. I
  25 noted that Defendants had narrowed over two million documents to 43,000 possibly
  26 responsive documents. In order to accelerate production and Plaintiff’s review, I
  27 identified several thematic categories of potentially responsive documents, such as
  28 “Agreements,” “Scripts,” “Casting,” and “Staging,” and proposed that Defendants

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   1 produce reasonable narrowed categories of those documents for production. For
   2 example, instead of reviewing over 6,000 emails and other documents potentially
   3 responsive to Plaintiff’s requests related to agreements because they reflected some
   4 aspect of an agreement with a Defendant, I, on behalf of Uncle George and the
   5 other Defendants, proposed providing executed agreements for each Defendant.
   6 My email offered similar proposals for several other thematic categories of
   7 documents that I thought were reasonable for all parties and would ensure Plaintiff
   8 would receive the relevant documents without us spending unnecessary time and
   9 money on less relevant (or irrelevant) documents. Attached as Exhibit 9 is a true
  10 and correct copy of my February 9, 2023 email to Plaintiff’s counsel.
  11            11.       On February 16, 2023, Plaintiff’s counsel categorically rejected all of
  12 these proposals and provided no counter-proposal or suggestions. A true and
  13 correct copy of Plaintiff’s counsel’s February 16, 2023 letter is attached as Exhibit 4
  14 to the Declaration of Antoinette Waller.
  15            12.       On February 22, 2023, I provided Plaintiff’s counsel with further
  16 details about the collection, search, and review of Defendants’ documents and
  17 renewed its request that Plaintiff consider the several narrowing proposals.
  18 Between February 22 and April 27, 2023, when this joint stipulation was sent to me,
  19 Plaintiff did not respond in any way to the February 22 letter or reach out to me or
  20 my colleagues regarding discovery. A true and correct copy of my February 22,
  21 2023 letter to Plaintiff’s counsel is attached as Exhibit 5 to the Declaration of
  22 Antoinette Waller.
  23            13.       On April 27, 2023, Plaintiff’s counsel sent me a notice of motion and
  24 Plaintiff’s portions of a Local Rule 37-2 joint stipulation to compel Uncle George’s
  25 production of documents, with Plaintiff’s counsel’s supporting declaration and
  26 exhibits. Plaintiff’s counsel stated that Uncle George must provide its portion of the
  27 joint stipulation and any supporting declaration and exhibits within seven days. On
  28 May 1, 2023, I informed Plaintiff’s counsel that, per Local Rule 37-1, she needed to

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   1 provide a meet-and-confer letter regarding alleged discovery issues, and then we
   2 would need to participate in an in-person prefiling conference, prior to Plaintiff
   3 filing any motion to compel. In particular, I stated that “I respectfully request that
   4 we comply with the rules and meet in person to discuss our document production.”
   5 I also informed Plaintiff’s counsel that Defendants anticipated producing documents
   6 the week of May 1.
   7            14.       That same day, Plaintiff’s counsel responded, claiming that they have
   8 “fulfilled – and far exceeded – any meet and confer requirement” for the six
   9 discovery requests at issue. I informed Plaintiff’s counsel that we disagreed with
  10 their position and that we would provide our portion of the joint stipulation, even
  11 though the motion violated the local rules.
  12            15.       On May 1, 2023, I sent Plaintiff’s counsel our own meet and confer
  13 letter based on what we believe to be Plaintiff’s deficient discovery responses. We
  14 requested dates and times that would work for Plaintiff’s counsel to meet in our
  15 office within ten days, as required by the Local Rules. Attached as Exhibit 10 is a
  16 true and correct copy of Defendants’ meet and confer letter.
  17            16.       From May 2 to May 4, 2023, I engaged in further email
  18 correspondence with Plaintiff’s counsel in which I again confirmed that we would
  19 be producing documents and reiterated my request to have a meet and confer
  20 discussion to see if we could resolve our disagreement and avoid this motion to
  21 compel. Those efforts were unsuccessful, and so we provided Plaintiff’s counsel
  22 with our portion of the joint stipulation. Attached as Exhibit 11 is a true and correct
  23 copy of this correspondence with Plaintiff’s counsel.
  24            I declare under penalty of perjury under the laws of the United States of
  25 America that the foregoing is true and correct, and that this Declaration was
  26 executed on the 4th day of May 2023, in Los Angeles, California.
  27                                                       /s/ Nicolas A. Jampol
                                                                Nicolas A. Jampol
  28

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